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EXHIBIT 19
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Yo: Frederick W ‘on | (a

Ce: Rajesh Subemenien ii Brie Carer RS 12° Allen

From: Jenny Robertson Oe FEDEX EXCHANOHOUFrEX TERNAL (FY DIBOUPISSPDE TYON eRECTPIENTSeCONe 3 | 8882 58 50F FA SCCBBICBR AGE AT ARES]
Sent: 19 7/102020 7:37:52 AM Central Dayhyght Time

Subject: Re Washingt Post and New York Times

 

Washington Post story:
https: swaw. washingtonpost.convsports/2020/07/10/private-letter-redskins- fedex~said-t-will- remove-siznage- t+ name- isnt-changed!

Sent from my iPhone

On Jul 9, 2020, at $:45 PM, Jenny hob. 0: Ss wrote:

All --- 1 provided the same information under the same terms and conditions to Liz Clarke at the Washington Post. She has asked previously about
the letter and brought it up again today when we spoke. | called the NYT reporter and let him know | gave the same info to another outlet, and he
said he appreciates the heads up and was not concerned because he has a lot of other reporting in his story.

We can expect both stories tomorrow,

Jenny

Sent from my iPhone
On Jul 9, 2020, at 4:19 PM, Jenny Roberso fii as wrote:

FWS,

Liz Clarke with the Washington Post called asking if there is any truth to a rumor that you were originally trying to buy Dan Snyder's
majority ownership of the team. She said she received thal Up yesterday and didn’t act on it, but then a reporter with the
Washington Times, Thorn Loverro, tweeted it last night so she had to ask. | plan to tell her there is no truth to that, unless you feel
otherwise, The other option is | could say we do not respond to rumors or speculation.

Note: | asked her if the person peddling the rumor is even credibie, and she said “at one point he was kind of a player but is no
Jonger and | think he’s having trouble with no longer being in the mix. He is type of person who trades in information, and he
offered this info as he was asking me what | was hearing.”

Also, | shared information from the letter with Ken Belson/NYT as discussed. His story should run tomorrow afternoon. He said
based on the reporting he has done, he is taking the angie that the tipping point was you/FedEx pushing on the name. He said all of
his sources are pointing to that.

denny

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